   Case 23-01092-MBK             Doc      Filed 04/10/23 Entered 04/10/23 12:57:58             Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

GENOVA BURNS LLC
110 Allen Road, Suite 304
Basking Ridge, NJ 07920
(973) 467-2700
Local Counsel to the Ad Hoc Committee of Talc
Claimants
DANIEL M. STOLZ, ESQ.
DONALD W. CLARKE, ESQ.



                                                                 Case No.:     ___________________
                                                                                    23-12825
In Re:
LTL MANAGEMENT, LLC,                                             Chapter:               11
                                                                               ___________________

                                              Debtor.            Hearing Date: ___________________

                                                                 Judge:                MBK
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ☐ Settled                  ☐ Withdrawn

           #77 - Notice of Appearance filed by Donald W. Clarke.
   Matter: ___________________________________________________________________________

   __________________________________________________________________________________



          April 10, 2023
   Date: ______________________                               /s/ Donald W. Clarke
                                                              ________________________________
                                                              Signature




                                                                                                    rev.8/1/15
